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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA, ex rel.                     )
  THOMAS FISCHER,                                       )
                                                        )
                         Plaintiff,                     )
                                                        )
  v.                                                    )      Cause No. 1:14-cv-1215-RLY-MKK
                                                        )
  COMMUNITY HEALTH NETWORK, INC.                        )
                                                        )
                         Defendant.                     )


                                JOINT NOTICE OF SETTLEMENT

       On December 18, 2023, Plaintiff the United States, Relator Thomas P. Fischer, and Defendant

Community Health Network, Inc. (“CHN”) executed a settlement agreement (the “Agreement”) to

resolve the claims set forth in the United States’ Complaint in Intervention.


       Dated: December 20, 2023                 Respectfully submitted,

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